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                  THE UNITED STATES DISTRICT COURT
                  FOR THE NOTHERN DISTRICT OF TEXAS
                           DALLAS DIVISION

UNITED STATES OF                         §
AMERICA                                  §
                                         §
v.                                       §        NO. 3:21-cr-00054-N
                                         §
DANIEL REY SETTLE                        §

            DEFENDANT DANIEL REY SETTLE’S EXHIBIT LIST


COMES NOW, DANIEL REY SETTLE, Defendant in the above styled and
numbered cause and files his trial Memorandum to assist the Court in ruling on the


 EXH NUM          DESCRIPTION           OFFERED         AGREED ADMIT



       1.         Text Messages

                  from AV1

       2.         Jail Call Intro


       3.         Call between Settle

                  and

                  AV1

                  Gov 002393
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3a             I am not a victim-

               AV1

3b             Have they given

               me anything- AV1

3c             They will put

               another charge on

               me




3d             Av1- they are the

               ones doing the harm


          3e   AV1- I don’t know

               what they heard

     4.        Photographs


     5.        Manifestation

               Citation

     6.        Jail Call 298


     7.        Jail Call 301
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    8.             Jail Call 304


    9.             Jail Call 308


    10.            Jail Call 317


    11.            Jail Call 324


    12.            Jail Call 326




                                          Respectfully submitted,
                                          /s/Russell Wilson II
                                          RUSSELL WILSON II
                                          Texas State Bar No. 00794870
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                                          DANIEL REY SETTLE

                            CERTIFICATE OF SERVICE
         This is to certify that on October 17, 2023, a true and correct copy of the
above and foregoing document was served on all parties via ECF.


                                          /s/Russell Wilson II
                                          RUSSELL WILSON II
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